        Case: 4:15-cv-00101-SA-RP Doc #: 25 Filed: 10/20/20 1 of 1 PageID #: 357




                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                   GREENVILLE DIVISION

RICKY ARCHER                                                                                     PETITIONER

V.                                                                              NO. 4:15-CV-00101-SA-RP

MARSHALL L. FISHER and THE ATTORNEY GENERAL
OF THE STATE OF MISSISSIPPI                                                          RESPONDENTS

                     ORDER DENYING CERTIFICATE OF APPEALABILITY

        Before the Court is the petitioner’s motion for a certificate of appealability (“COA”) from

the denial of his federal habeas petition. Doc. # 24. The Court denied a COA at the time it

entered a final judgment in this matter. See Doc. #s 20, 21. Petitioner presents nothing in the

instant motion that warrants a departure from the Court’s prior ruling.1 Accordingly, the

petitioner’s motion [24] for a COA is DENIED.

        SO ORDERED, this the 20th day of October, 2020.


                                                     /s/ Sharion Aycock
                                                     UNITED STATES DISTRICT JUDGE
                                                     NORTHERN DISTRICT OF MISSISSIPPI




1
 The Court further notes that the instant motion was filed more than four years after entry of final judgment in this
case. Moreover, the petitioner now appears to assert a claim for ineffective assistance of counsel, a claim which he
did not raise in the aforementioned federal habeas petition.
